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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

PHYLLIS SCHLAFLY REVOCABLE                        )
TRUST, et al.,                                    )
                                                  )
          Plaintiffs,                             )
                                                  )
    v.                                            )         No. 4:16CV01631 JAR
                                                  )
ANNE CORI, et al.,                                )
                                                  )
          Defendants.                             )


                                 MEMORANDUM AND ORDER

         This matter is before the Court on Plaintiffs Phyllis Schlafly Revocable Trust (“Trust”) and

Eagle Trust Fund’s (“Eagle Trust”) (collectively, “Plaintiffs”) emergency motion for temporary

restraining order (“TRO”) and preliminary injunction, filed with the Court on November 3, 2016.

(Doc. No. 7) On November 7, 2016, Defendants Ann Schlafly Cori, Eunie Smith, Cathie Adams,

Carolyn McLarty, Rosina Kovar and Shirley Curry (“Defendants”) filed a response in opposition to

the motion, and the Court held oral argument. Plaintiffs thereafter filed a reply. (Doc. No. 26) For

the following reasons, Plaintiffs’ motion will be denied.

   I.        BACKGROUND

         The procedural history of this case is complex, as the parties (generally) are litigating two

other cases in the geographic area. In one of these cases, an Illinois State court entered a TRO in

April 2016 restraining Edward Martin, John Schlafly, and Eagle Forum (non-parties in this action)

from interfering with Defendants’ access to any and all property of Eagle Forum, an organization

that competes with Plaintiffs. Cori v. Martin, 2016MR000111 (Ill. Cir. Ct. Oct. 20, 2016); (Doc.

No. 7-6 at 1–2). On October 20, 2016, the Illinois court amended the TRO, and afforded

Defendants herein, in their capacities as the majority members of the Eagle Forum Board of
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Directors, temporary sole control and possession over all Eagle Forum property, including a list of

14,000 active Eagle Forum members and 41,000 email addresses, the Eagle Forum domain

(eagleforum.org) and email, and financial and deposit accounts. (Doc. No. 7-6 at 6). 1

        Meanwhile, on October 19, 2016, Plaintiffs filed suit in this Court, asserting causes of

action for violations of the Defend Trade Secrets Act, 18 U.S.C. § 1836; the Missouri Uniform

Trade Secrets Act, Mo. Rev. Stat. § 417.455 et. seq.; the Lanham Act, 15 U.S.C. §§ 1114(1),

1125(a); declaratory judgment under 28 U.S.C. § 2201; and claims under Missouri common law.

(Doc. No. 1). Underlying each of Plaintiffs’ claims is an allegation that one or more Defendants, or

persons acting on behalf of Defendants, have impermissibly accessed, misappropriated, and used

Plaintiffs’ intellectual property.

        The following relevant facts are set forth in Plaintiffs’ complaint and emergency motion for

temporary restraining order and preliminary injunction. (Doc. Nos. 1, 7) According to Plaintiffs,

two Trust employees, Elizabeth Miller and Ann Bensman, have misappropriated Plaintiffs’ trade

secrets and are sharing them with Defendants. Plaintiffs assert that Defendants’ actions threaten the

proprietary nature and confidentiality of a database of contact information (the “Database”) which

Defendants use for direct mail and fundraising efforts promoting causes supported by Phyllis

Schlafly (“Mrs. Schlafly”). Plaintiffs assert that, in the Illinois case, Miller and Bensman have

misrepresented themselves as employees of, Missouri Eagle Forum. Plaintiffs further claim that, on

October 31, 2016, they directed Miller and Bensman to report to a different office, held a meeting

at which they were reminded of the proprietary nature of the Database, directed to return their

passwords, and asked to sign an acknowledgement of the confidentiality of the information.

Plaintiffs also allege that Miller and Bensman refused, and they have neither returned to work nor



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 Another similar case is pending in the U.S. District Court for the Southern District of Illinois. See
Cori v. Phyllis Schlafly’s American Eagles, 3:16CV00946-DRH-RJD.


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relinquished their passwords. Plaintiffs contend that partial lists of the Database were created when

these employees had access to the Database, and Plaintiffs express concern that Miller and

Bensman may have copied these partial lists.

         On November 3, 2016, Plaintiffs filed the instant emergency motion for temporary

restraining order and preliminary injunction. (Doc. No. 7) In their motion, Plaintiffs ask that the

Court enjoin Defendants from using the likeness and image of Phyllis Schlafly; enjoin Defendants

from distributing, using, or disseminating the Database and any other confidential trade secrets of

Mrs. Schlafly; and require Defendants to list and return confidential and proprietary trade secrets of

Mrs. Schlafly, including the Database. In response, Defendants argue that the intellectual property

at issue belongs to Eagle Forum, and is already subject to the Illinois court’s TRO.

   II.      DISCUSSION

         In determining whether to issue a TRO, the Court must consider the following four factors:

(1) the threat of irreparable harm to the movants; (2) the balance between this harm and the injury

that granting the injunction will inflict on other parties litigant; (3) the probability that movants

will succeed on the merits; and (4) the public interest. Dataphase Sys., Inc. v. C L Sys., Inc., 640

F.2d 109, 113 (8th Cir. 1981) (en banc). “While no single factor is determinative, the probability

of success factor is the most significant.” Home Instead, Inc. v. Florance, 721 F.3d 494, 497 (8th

Cir. 2013) (citation omitted). The party requesting injunctive relief bears the “complete burden” of

proving that an injunction should be granted. Gelco Corp. v. Coniston Partners, 811 F.2d 414, 418

(8th Cir. 1987).

   A. Likelihood of Success on the Merits

         The Court concludes that Plaintiffs have not met their burden of establishing a reasonable

likelihood of success on the merits of their claims. In Count I of the Complaint, Plaintiffs bring a

trade secret misappropriation claim under the Defend Trade Secrets Act of 2016 (“DTSA”), which



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creates a private cause of action in favor of the “owner of a trade secret that is misappropriated ... if

the trade secret is related to a product or service used in, or intended for use in, interstate or foreign

commerce.” 18 U.S.C. § 1836(b)(1). In Count V, Plaintiffs bring a trade secret misappropriation

claim under the Missouri Uniform Trade Secrets Act (“MUTSA”), V.A.M.S. § 417.450 et seq. The

elements of Plaintiffs’ trade secret misappropriation claims under the DTSA and MUTSA are

essentially the same. In order to prevail on a claim for misappropriation of a trade secret, a plaintiff

must show: (1) the existence of a protectable trade secret; (2) misappropriation of those trade

secrets by the defendant; and (3) damages.

       A trade secret is defined by the DTSA and MUTSA as “information,” including

“compilations,” that meets two qualifications: (a) the owner thereof has taken reasonable measures

to keep such information secret; and (b) the information derives independent economic value,

actual or potential, from not being generally known to, and not being readily ascertainable through

proper means by, another person who can obtain economic value from its disclosure or use. See 18

U.S.C. § 1839(3); V.A.M.S. § 417.453(4). A misappropriation occurs when: (1) a person acquires

the trade secret while knowing or having reason to know that he or she is doing so by improper

means, (2) a person who has acquired or derived knowledge of the trade secret discloses it without

the owner’s consent, or (3) when a person who has acquired or derived knowledge of the trade

secret uses it without the owner’s consent. See Mission Measurement Corp. v. Blackbaud, Inc., No.

16 C 6003, 2016 WL 6277496, at *4 (N.D. Ill. Oct. 27, 2016) (quoting Syntel Sterling Best Shores

Mauritius Ltd. v. Trizetto Grp., Inc., No. 15CV211, 2016 WL 5338550, at *6 (S.D.N.Y. Sept. 23,

2016) (citing 18 U.S.C. § 1839(5)); Cent. Trust & Inv. Co. v. Signalpoint Asset Mgmt., LLC, 422

S.W.3d 312, 322 (Mo. 2014).

       In Counts II, III, and IV of the Complaint, Plaintiffs bring claims for trademark

infringement, unfair competition, and trademark dilution under the Lanham Act, 15 U.S.C. §§



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1114, 1125. To prevail on a claim of trademark infringement under 15 U.S.C. § 1114(1), a plaintiff

must establish that (1) it owns a valid, protectable mark, (2) that defendants have used the mark in

commerce without the plaintiff’s consent; and (3) that there is a likelihood of confusion between the

plaintiff’s mark and the defendant’s mark. 15 U.S.C. § 1114(1); B & B Hardware, Inc. v. Hargis

Indus., Inc., 569 F.3d 383, 389 (8th Cir. 2009); JDR Indus., Inc. v. McDowell, 121 F. Supp. 3d 872,

882 (D. Neb. 2015). A claim of unfair competition under 15 U.S.C. § 1125(a)(1) has essentially the

same elements. 15 U.S.C. § 1125(a)(1); Davis v. Walt Disney Co., 430 F.3d 901, 903 (8th Cir.

2005).

         In order to prevail on any of these claims, Plaintiffs have to establish the threshold issue of

ownership of a protected trade secret or trademark. Here, there are significant factual disputes not

only as to the ownership of the Database, but also as to its content.

         In their emergency motion and during arguments made on the record, Plaintiffs assert the

Trust owns the Database and other proprietary information pursuant to an Assignment of Rights

executed August 31, 2016, which assigned and transferred all of Mrs. Schlafly’s intellectual

property and intangible literary property rights to the Trust. (Doc. No. 7-2 at 1). Plaintiffs also

assert on the record and in their reply that the Database is not the list of 14,000 active members of

the Eagle Forum or 41,000 email contacts maintained by the Eagle Forum; rather, it is an entirely

separate list of 400,000 entries collected by Mrs. Schlafly and owned by the Trust. Defendants

counter by arguing that the Eagle Forum owns the Database, and that the present lawsuit concerns

the property rights and interests of Eagle Forum. Defendants further contend that Plaintiffs’ basis

for their ownership of the Database, an Assignment of Rights executed by Mrs. Schlafly, may be a

result of undue influence.

         Given the lack of clarity and disputed facts surrounding the ownership and content of the

Database, the Court finds that Plaintiffs cannot establish a likelihood of success on a claim under



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the DTSA or MUTSA.

       Although Plaintiffs focused primarily on the Database during oral argument, they have also

requested that the Court enjoin Defendants from using Mrs. Schlafly’s name, image, and likeness.

Plaintiffs assert that prior to Mrs. Schlafly’s death, she revoked all previously issued licenses to the

use of her name, image, and likeness, and assigned ownership of them to the Trust. Plaintiffs

further allege that, despite the revocation and subsequent assignment, Defendants have continued to

use Mrs. Schlafly’s name, image, and likeness on the Eagle Forum’s website, which Plaintiffs

characterize as a competing organization that is collecting and using funds “to support contrary

positions[.]” (Doc. No. 7 at 9). In response, Defendants argue that Plaintiffs’ claims to Mrs.

Schlafly’s right of publicity are based on the Assignment of Rights document, the legitimacy of

which is in dispute. Defendants also contend that Missouri courts have not recognized a post-

mortem right to publicity. Plaintiffs reply that although Missouri has not yet addressed whether

such a right exists, twenty-three of the twenty-five states that have addressed the issue recognize a

post-mortem right to publicity.

       The Court need not address whether a post-mortem right to publicity exists at this juncture.

Even assuming, for purposes of this analysis, that a post-mortem right of publicity exists in

Missouri, it is unclear on the record who currently has authority to control and use Mrs. Schlafly’s

name, image, and likeness. The Court at this time is therefore unconvinced of Plaintiffs’ likelihood

of success on the merits. Moreover, the Illinois State Case’s amended TRO allowed Defendants to

assume “temporary sole control and possession over all Eagle Forum property[.]”               It further

installed Anne Cori as the Acting Chairman and Eunie Smith as Acting President of the Eagle

Forum. Thus, the actions that seem to be at the heart of Plaintiffs’ right of publicity claim appear to

be sanctioned by the Illinois court’s amended TRO.

       For these reasons, the Court concludes Plaintiffs have failed to show a likelihood of success



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on their claims at this juncture. The Court thus declines to issue a TRO that would appear to

disturb or undo the status quo currently established by the amended TRO in the Illinois State Case.

     B. Threat of Immediate and Irreparable Harm

        The Court also finds that Plaintiffs have failed to show a threat of irreparable harm required

for the issuance of a TRO. “In order to demonstrate irreparable harm, a party must show that the

harm is certain and great and of such imminence that there is a clear and present need for equitable

relief.” Novus Franchising, Inc. v. Dawson, 725 F.3d 885, 895 (8th Cir. 2013) (citation omitted).

In this case, Plaintiffs are concerned that two Eagle Trust employees may have copied all or part of

the Database from a secure computer and if so, that they may be sharing this information with

Defendants. 2   Put simply, the Court finds the alleged harm in this case to be too speculative.

S.J.W. ex rel. Wilson v. Lee’s Summit R-7 Sch. Dist., 696 F.3d 771, 779 (8th Cir. 2012)

(“Speculative harm does not support a preliminary injunction.”). Plaintiffs have not presented

enough evidence in their brief or on the record to establish that the harm is so “certain and great and

of such imminence” as to require injunctive relief. Novus Franchising, 725 F.3d at 895. Instead,

Plaintiffs ask the Court to enjoin Defendants from accessing a database (the content and ownership

of which is in dispute), and is also, per Defendants, the subject of the TRO issued in the Illinois

State Case, which grants Defendants the access rights Plaintiffs are now asking this Court to enjoin.

        Plaintiffs also claim that Defendants’ use of Mrs. Schlafly’s name, image, and likeness will

result in irreparable harm because Defendants are collecting funds in Mrs. Schlafly’s name and

using them to support positions contrary to ones Mrs. Schlafly’s supported. Plaintiffs assert in their

emergency motion that Defendants actions tarnish Mrs. Schlafly’s memory and reputation. In their

reply, Plaintiffs convey their fear that following the election, “Defendants will improperly utilize



2
 The parties dispute, and the record does not conclusively show, by whom Ms. Miller and Ms.
Bensman were employed – Eagle Trust or Eagle Forum.


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Mrs. Schlafly’s name, image, and likeness to endorse positions that are contrary to Mrs. Schlafly’s

values.” (Doc. No. 26 at 5). As to this claim, the Court also finds that the risk of irreparable harm

is too speculative. Plaintiffs’ briefs convey a fear that Defendants’ conduct will cause harm at a

later time, but they do not identify any real evidence of immediate and irreparable harm for the

Court to consider. Instead, the briefs discuss what might occur if Defendants act improperly. The

Court thus finds that the possibility of harm to Mrs. Schlafly’s brand and image is far too

speculative to justify the issuance of a TRO.

        The Court further notes that while Plaintiffs filed this instant action on October 19, 2016,

they did not file their emergency motion for TRO and preliminary injunction until November 3,

2016. This fact alone is not dispositive; however, Plaintiffs’ delay in filing their emergency motion

further supports the Court’s finding that there is no risk of immediate harm. Therefore, the issuance

of a TRO is not justified. In sum, the Court finds no threat of immediate and irreparable harm to

Plaintiffs.

    C. Remaining Dataphase Factors

        The Court will consider next the two remaining Dataphase factors: the balance of harms

and the public interest. In balancing the harms caused by the Court’s decision not to issue a TRO,

the Court is mindful of Plaintiffs’ arguments regarding the protection of one’s right of publicity and

trade secrets. The Court, however, is also mindful of the harm of ordering emergency injunctive

relief where, as here, significant factual disputes exist in issues central to the parties’ request of and

response to a TRO. Although it is in the public’s interest to ensure that confidential and proprietary

property is so maintained, that interest would not be served by a TRO when the ownership of that

property is in significant dispute.

        The Court also notes that the TRO issued by the Illinois State court grants Defendants sole

control over a database of information which, given the significant factual disputes in this case, may



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be identical or substantially similar to the Database. Even if the database contemplated by the TRO

in the Illinois State Case is not identical or substantially similar to the Database, the information on

these databases may overlap. The Court also notes that the Illinois State court explicitly states in

several instances that its original and amended TROs are intended to preserve the status quo. A

TRO issued by this Court would appear to be in direct conflict with the Illinois State court’s order.

   III.      CONCLUSION

          After careful consideration of the Dataphase factors, the Court concludes Plaintiffs have not

met their burden of showing that a temporary restraining order should be issued.

          Accordingly,

          IT IS HEREBY ORDERED that Plaintiffs’ emergency motion for temporary restraining

order and preliminary injunction (Doc. No. 7) is DENIED.

          Dated this 9th day of November, 2016.




                                                      ________________________________
                                                      JOHN A. ROSS
                                                      UNITED STATES DISTRICT JUDGE




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